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 5                              UNITED STATES DISTRICT COURT
 6                            SOUTHERN DISTRICT OF CALIFORNIA
 7
 8    BLACK MOUNTAIN EQUITIES, INC.,                         Case No.: 21-cv-00571-JLS-BGS
 9                                          Plaintiff,
                                                             NOTICE OF CHANGE OF
10    v.                                                     HEARING
11    TWO RIVERS WATER & FARMING
      COMPANY,
12
                                          Defendant.
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14
            Due to a conflict in the Court’s calendar, the Early Neutral Evaluation Conference
15
     set for Friday, July 30, 2021 at 2:00 PM before Magistrate Judge Bernard G. Skomal is
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     RESCHEDULED for Monday, July 26, 2021 at 1:30 PM. This Early Neutral Evaluation
17
     Conference will be conducted via video conference.1 If counsel does not receive an
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     invitation to join the Zoom video conference by the end of the day on July 23, 2021, please
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     email chambers at efile_skomal@casd.uscourts.gov. No other deadlines in the Court’s
20
     Early Neutral Evaluation Conference Order (ECF No. 32) are modified.
21
            IT IS SO ORDERED.
22
     Dated: July 9, 2021
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     1
       Please look to the Court’s Early Neutral Evaluation Conference Order for the video conference
28   instructions. (ECF No. 32 at 4–5.)

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                                                                                         21-cv-00571-JLS-BGS
